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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


CITY OF ALBUQUERQUE,

               Plaintiff,

vs.                                                                 No. 1:21-cv-00349

THE SEGAL COMPANY (Western States),
A Maryland Corporation d/b/a Segal Consulting,

               Defendant.



       PLAINTIFF’S EXPERT DISCLOSURE PURSUANT TO FED. R. CIV. P. 26

       Plaintiff City of Albuquerque (the “City”), by and through its counsel of record, Law

Offices of Geoffrey R. Romero (Geoffrey R. Romero) and undersigned counsel, and Sanders &

Westbrook, P.C. (Maureen A. Sanders), and pursuant to the Third Order Amending Pretrial

Deadlines and Federal Rules of Civil Procedure 26, hereby submit its expert disclosures as follows:

       1.      Charles C. DeWeese, FSA, MAAA
               263 Wright Road
               Collinsville, CT 06019-3754
               (860) 778-8165

       Charles C. DeWeese is a retained expert witness and should only be contacted through
counsel.

       Mr. DeWeese’s expert report, dated November 30, 2022, is being produced under separate

cover to Defendant. Attached to Mr. DeWeese’s report the Qualification Standard for Actuaries

Issuing Statements of Actuarial Opinion in the United States as Exhibit 1. Mr. DeWeese’s

Curriculum Vitae is attached to his expert report as Exhibit 2. Mr. DeWeese’s list of Documents
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Reviewed is attached to his report as Exhibit 3. Also attached to Mr. DeWeese’s report is the

Actuarial Standards of Practice, ASOP 23 Data Quality, ASOP 41 Actuarial Communications as

Exhibit 4.

       Mr. DeWeese will testify consistent with all opinions set forth in his report.         Mr.

DeWeese’s methodology, analysis, and processes of review is contained in his report.

       2.        Any and all expert witnesses identified by Defendant to whom Plaintiffs do not

       object.

       3.        Rebuttal witnesses as necessary, who cannot be identified at this time.

       4.        Any and all witnesses necessary for impeachment.


                                               Respectfully submitted,

                                               LAW OFFICES OF GEOFFREY R. ROMERO

                                               /s/ Geoffrey R. Romero
                                               Geoffrey R. Romero, Esq.
                                               4801 All Saints Rd., NW
                                               Albuquerque, NM 87120
                                               (505) 247-3338
                                               Geoff@GeoffRomeroLaw.com

                                                      -and-

                                               Maureen A. Sanders
                                               SANDERS & WESTBROOK, P.C.
                                               102 Granite Avenue NW
                                               Albuquerque, NM 87102
                                               (505) 243-2243
                                               mas@sanwestlaw.com

                                               Attorneys for Plaintiff



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of November 2022, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel of record to be served
by electronic means, as more fully reflected on the Notice of Electronic Filing:

Nelson Franse
Christina A. Adams
RODEY, DICKASON, SLOAN, AKIN
& ROBB, P.A.
PO Box 1888
Albuquerque, NM 87103
rfranse@rodey.com
cadams@rodey.com

Kara Wheatley
Rachel Hancock
Michael J. Prame
Groom Law Group, Chartered
1701 Pennsylvania Ave., NW, Suite 1200
Washington, DC 20006
KWheatley@groom.com
Rhancock@groom.com
Attorneys for the Defendant


/s/ Geoffrey R. Romero
Geoffrey R .Romero




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